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                    IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

SILVIA COTRISS,                         §
                                        §
       Plaintiff,                       §
                                        §
vs.                                     §       CIVIL ACTION NO.
                                        §
CITY OF ROSWELL, the ROSWELL §
CHIEF OF POLICE, JAMES RUSSELL §
GRANT, Individually and in his Official §
Capacity, and the ROSWELL CITY          §
ADMINISTRATOR, KATHERINE                §
GAINES LOVE, Individually and in her §
Official Capacity,                      §
                                        §
       Defendants.                      §

                      PLAINTIFF'S ORIGINAL COMPLAINT

       COMES NOW SILVIA COTRISS ("Plaintiff"), Plaintiff herein, who makes and files

this, her Original Complaint complaining of and about the CITY OF ROSWELL, the

ROSWELL CHIEF OF POLICE, JAMES RUSSELL GRANT, Individually and in his

Official Capacity, and the ROSWELL CITY MANAGER, KATHERINE GAINES LOVE,

Individually and in her Official Capacity (collectively, "Defendants"), Defendants herein,

and in support thereof respectfully show the following:

                                           I.
                                         Parties

1.    Plaintiff Silvia Cotriss is an individual residing in Woodstock, Georgia.
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2.     Defendant CITY OF ROSWELL is municipality located in Georgia. The CITY OF

ROSWELL may be served with process by serving City Administrator Katherine Gaines

Wood at her office located at Roswell City Hall, 38 Hill Street, Roswell, GA 30075.

3.     Defendant JAMES RUSSELL GRANT, is the Roswell Chief of the Roswell Police

Department Police (the "Chief"). He may be served with process by serving him at his office

located at the Roswell Police Department, 39 Hill Street, Roswell, GA 30075.

4.     Defendant KATHERINE GAINES GRANT is the City Administrator of Roswell,

Georgia (the "City Administrator"). She may be served with process by serving her at

Roswell City Hall, 38 Hill Street, Roswell, GA 39975.

                                          II.
                     Venue, Jurisdiction and Conditions Precedent

5.     The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331, Plaintiff

asserts claims against the Defendants under 42 U.S.C. § 1983, and therefore they arise under

federal law.

6.     Venue is proper in the Court pursuant to 28 U.S.C. § 1391(b) because the events

giving rise to these claims all occurred in the Northern District of Georgia and because the

Defendants reside within, and are located within, the Northern District of Georgia.

7.     The Plaintiff affirmatively avers that all condition precedents to filing this suit have

taken place, or else have been waived.

                                          III.
                         Statement of Facts/Actionable Conduct
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8.     Plaintiff was employed with the Roswell Police Department ("RPD") for

approximately 20 years. Her assignment prior to termination was as a Sergeant in the

Uniform Patrol Division.

9.     On July 11, 2016, a complaint was allegedly made through an email to the Chief,

about a Confederate flag that was being displayed on a flagpole outside a private residence

located at 1275 West Wylie Bridge Road. The complainant was emailing the Chief because

he believed a RPD officer lived at the residence due to a RPD police vehicle bring parked in

the driveway of the residence. The complainant alleged that he felt due to the current race,

police, and human relations issues, the officer should not be allowed to display such a flag

despite her individual right to free speech.

10.    Plaintiff resides at 1275 West Wylie Bridge Road, Woodstock, GA. She owns the

home and has resided there for over 11 years. Prior to March 2016, she parked a RPD police

vehicle in her driveway visible to anyone walking or driving by her residence. In March

2016, she went on leave from her job under the Family Medical Leave Act and kept her RPD

police vehicle during that time. In May 2016, a Roswell Police Officer came to her residence

and asked for the return of her RPD police vehicle because the radios in all the police

vehicles were being replaced. Plaintiff released the vehicle to the officer, and the RPD police

vehicle was never returned to her. Thus, a RPD police vehicle could not have been parked in

her driveway on or about July 11, 2016 when the alleged complaint was made.

11.    Plaintiff admits she had a confederate flag flying below an American flag on a

flagpole in the front yard of her private residence. Her house mate raised the Confederate



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flag complained of approximately three-to-four weeks prior to the July 11, 2016 complaint.

Her house mate went out to remove a flag that had a motorcycle in the middle of it and a

smaller version of the Confederate flag which had been displayed on the flagpole since April

2015, but while he was outside, a neighbor gave him a new Confederate flag to raise. Her

house mate then removed the motorcycle Confederate flag and replaced it with the

Confederate flag.

12.    An investigation immediately ensued after the alleged complaint on July 11, 2016

based on allegations of conduct unbecoming a police officer under Section 13.1 of the RPD

Policies and Procedures Manual. Plaintiff was interviewed by the RPD on July 12, 2016

regarding the display of the Confederate flag.

13.    Plaintiff had purchased the motorcycle Confederate flag with her late husband in

Florida approximately a year before. Her husband had passed away just a few months prior

to the alleged complaint on May 11, 2016. Plaintiff gave her house mate permission to raise

the new Confederate flag as a way to honor her Southern heritage and her late husband.

Defendants asked Plaintiff why she displayed the Confederate flag and she explained it was a

part of her heritage.

14.    At the conclusion of the RPD investigation, the alleged violation was sustained.

Plaintiff was never asked to remove the Confederate flag nor did anyone explain to her the

concerns raised in the July 11, 2016 email. On July 12, 2016, Plaintiff was placed on

Administrative Leave with Pay. On July 14, 2016, Plaintiff was formally terminated based

on RPD Policy 16.5(A) “Duty Regarding Conduct: On/Off Duty an Officer must conduct



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themselves as to merit the confidence and respect of the public and fellow officers”; Policy

16.82 “Conduct Unbecoming: On/Off Duty engaging in conduct which adversely affects the

efficiency of the RPD and has tendency to destroy public respect for the employee or RPD or

destroys confidence in the operation of the City service is conduct unbecoming and is

prohibited”; and Section 13.19 Human Resources Policy: “any conduct on or off duty that

reflects unfavorably on the City as an employer.”

                                            IV.
                                      Causes of Action

16.    Cause of Action: Violation of Constitutional Rights — Section 1983: The facts set

forth above state a cause of action in favor of Plaintiff and against the Defendants,

individually and in their official capacity, for a violation of the United States Constitution

actionable under to 42 U.S.C. § 1983. Specifically, the Defendants' acts, done under color of

law, deprived Plaintiff of rights, privileges or immunities secured by the federal Constitution

and laws.

17.    Violation of First Amendment Right to Free Speech: Plaintiff was wrongfully

terminated by Defendants in violation of her First Amendment right to free speech.

Plaintiff's display of the Confederate flag at her private residence was constitutionally

protected speech and that speech was a substantial or motivating factor in the RPD's decision

to terminate her. Her display of the Confederate flag at her private residence involved a

matter of public concern. Plaintiff's speech did not relate to her job nor was it made in

furtherance of her job duties as an officer. The speech is a matter of public concern in that it

relates to matters of political, social, or other concern to the community. A Confederate flag


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can communicate an array of messages, among them various political and historic points of

view. Indeed, the Confederate flag has been a state sponsored symbol of Georgia heritage

and generally accepted symbol of Georgia heritage. Examples of this include, but are not

limited to the following facts:

A. The Flag of the State of Georgia from 1956 - 2001 is a Confederate flag variant adopted by the
Georgia legislature to celebrate the Civil War Centennial.

B, The Georgia State flag of 2001- 2003 also contained a Confederate Battle flag.

C. The current flag of the State of Georgia, adopted in 2003, is also a Confederate flag variant, based on
the First National flag of the Confederate States of America popularly known as the "Stars & Bars."



18.     Plaintiff's interest in conveying her message of pride in her heritage and the historic

significance of the Confederate flag outweighed any legitimate interest of the City in

efficient public service. Finally, Plaintiff's speech played a substantial part in the City's

decision to terminate her.

19.     The City and the other Defendants in their official capacity are liable under Section

1983 for violating Plaintiff's First Amendment constitutional right to free speech through an

official policy, custom, or pattern.

20.     The City adopted the Chief's decision that displaying the Confederate flag at a private

residence constituted a violation of RPD Policy 16.5(A) “Duty Regarding Conduct: On/off

duty an officer must conduct themselves as to merit the confidence and respect of the public

and fellow officers”; Policy 16.82 “Conduct Unbecoming: On/off duty officer engaging in

conduct which adversely affects the efficiency of the RPD and has tendency to destroy public

respect for the employee or RPD or destroys confidence in the operation of a City service is



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conduct unbecoming and is prohibited”; and Section 13.19 Human Resources Policy: “any

conduct on or off duty that reflects unfavorably on the City as an employer.” The Police

Chief is a person who has final policy making authority with the City of Roswell and has the

authority to terminate employees. The City, through the City Administrator, who possesses

final policy making authority for the City, adopted the Chief's decision to fire Plaintiff for her

expressive speech without any lesser discipline considered.

21.    Plaintiff's speech was made at her private residence and did not in any way impair or

reflect on the City or the RPD. The speech did not impede the City or RPD's ability to

perform its duties efficiently. In fact, a Confederate flag had been flying for over a year at

Plaintiff's residence without causing any problems. The display of the Confederate flag was

at her private residence and was made as a private citizen. She was displaying her pride in

her Southern heritage and honoring her recently deceased husband.

22.    The only connection that could be made to the City or RPD was through the RPD

police vehicle that was parked at her residence months prior to the alleged complaint. She

was not parking her vehicle at her residence at the time of the alleged complaint. Plaintiff’s

speech had no effect on the internal operation of the City or RPD.

23.    The Chief and the City Manager are also liable in their individual capacities for their

violation of Plaintiff's First Amendment right to free speech by taking part in terminating her

for her display of the Confederate flag at her private residence.

24.    The Chief and the City Manager are not entitled to qualified immunity for their

conduct because they violated a clearly established constitutional right, Plaintiff's First



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Amendment right to freedom of speech, and their conduct was objectionably unreasonable in

light of clearly established law at the time of the incident.

25.    As a direct and proximate cause of the Defendants’ above described unlawful actions

Plaintiff has suffered damages in the form of lost wages and benefits of employment and has

suffered severe emotional distress and pain and suffering. Furthermore, the actions taken by

the individual defendants sued in their individual capacities were willful, wanton and

intentionally taken to harm the Plaintiff, thereby entitling the Plaintiff to an award of punitive

damages against the individual Defendants sued in their individual capacities.

                                             V.
                                       Attorney's Fees

25.    Plaintiff seeks her attorney's fees and costs pursuant to 42 U.S.C. § 1988 which

authorizes an award of attorney's fees to prevailing parties in civil rights litigation.

                                             VI.
                                           Damages

WHEREFORE, PREMISES CONSIDERED, Plaintiff hereby prays the Defendants be cited

to appear and answer herein and upon final hearing, Plaintiff have judgment against these

Defendants for reinstatement to her position with all corresponding pay and benefits (or, in

the alternative, an award of 10 years of front pay and cost of benefits), back pay, actual and

compensatory damages, punitive damages against the individual Defendants sued in their

individual capacities, reasonable and necessary attorney's fees and court costs incurred as a

result of this suit, as well as prejudgment and post-judgment interest. Plaintiff further prays

for such other and further relief at law or in equity to which the Court deems just and proper.



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                                 Respectfully submitted,

                                 __/S/ David Ates_______
                                 David Ates
                                 Georgia Bar No. 026281

                                 David Ates P.C.
                                 5101 Forrest Walk
                                 Roswell, GA 30075
                                 (404) 382-5324 (Office)
                                 (404) 931-5725 (Cell)
                                 Ates_david@live.com

                                 ATTORNEYS FOR PLAINTIFF




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